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CONSTRUCTION NOTES:

(1) SIDEWALK ACKESS RAMP TIPE ‘D' FER MAG. STANDARD OETAL uD, 238

SE OTECHNICAL NOTE:
‘ALL CONSTRUCTION SHALL CONFORM
SOLS REPORT PREPARED GY: AMERICAN SUILS

STORM GRAIN CONSTRUCTION NOTES

INSTALL 48° DIAMETER S MANHOLE PER HLA.
ANDARD DETAIL WO. 520 & 522

ISTALL 18° ROP STORM DRAIN

ISTALL 24” RCP STORM DRAIN

ISTALL 30" RCP STORM DRAIN

INSTALL 36" RCP STORM ORAM

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©

INSTALL MOU. TYPE ‘C’ STORM ORAW INLET PER OTS

FEMA FLOOD ZONE
FEMA MAP: PANEL NO, O4D058 23250

A PORTION OF PHASE B OF AREA 4 UES THI
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OUTSIDE THE AREA OF THE 1
SEE GRADING PLANS FOR BOUNDARY LOCATIONS.

WTH THE

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= FUTURE GRADE
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= PROPERTY LINE
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¢ “so EMSTING CoRTOUR
73 = LOT MUMBER

= EDGE OF PAVEMENT

= 3 FT TRANSITION
“= [LC CURE To "ROLL" CURB)

= CURB d& GUTTER

= 5 RAMP

BASIS GF BEARINGS

NORTH O013'38" EAST — THE WEST UNE OF THE NORTHWEST QUARTER

ARIZONA COORDINATE SYSTEM OF 1885 (AZB3—WIF), WEST ZONE,
INTERNATIONAL FOOT (IFT), UTIUZING FAST STATIC OBSERVATIONS
PROCESSED BY NGS-OPUS.

MGSO, "SD 32" =

LATITUDE 35°00'22,70034"N,
roa

STONE 1/4 COR 3/2 = LATITUDE 56°05'S5 5985"
LONGITUDE 114°10'30.7226

HEGHT 2498.20¢5mAt (VANE

BENGHMARK

BENCHMARK $f "SD 34° HAC.S.0,
ELEVATION= Ssap24273 IFT (HAVO “aB}

DESCRIPTION: ALUM CAP 2° DIA., SET IN CONC, 68 FT. NORTHEAST OF
THE SOUTH 1,/4 CORNER OF SC. 38, 7. 7 WAND THE
INTERSECTION OF SHINARUHP DR. AND HOPE , STAMPED "SD 34 1958
RLS 10345"

DISCLAIMER NOTE
UTUTY LocaTIONS SHOWN

762-5348
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1-898-753-5591
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PRELIMINARY ISSUE FOR REVIEW
NOT FOR CONSTRUCTION 4-12-06

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SCALE (H) 1

SCALE (4) 1"
DRAWN BY ¢D/RM
CHECKED BY SH/DB
DATE 4-12-06

(702) 368-3598 Fox (702) 368-9793

‘wave starleygroup.com

__..| Stanley Consultants nc

5820 S. Eostern Aware, Suits 200
Los vegas, Nevado 69119

AREA 1 - PHASE B
E and F STREET - PLAN AND PROFLE

MOHAVE COUNTY

GOLDEN VALLEY RANCH

RHODES HOMES ARIZONA, LLG

SHEET
PP36
105 OF 105 SHEETS
SCI PROJECTS

18476

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